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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


 QUANTUM TECHNOLOGY                             :
 INNOVATIONS, LLC,                              :
                                                :
                         Plaintiff,             :
                                                :
 v.                                             :               C.A. 22-666-RGA
                                                :
 POPCORNFLIX.COM LLC, CRACKLE                   :
 PLUS, LLC, SCREEN MEDIA                        :         JURY TRIAL DEMANDED
 VENTURES, LLC, and CHICKEN SOUP                :
 FOR THE SOUL ENTERTAINMENT                     :
 INC.,                                          :
                                                :
                         Defendants.            :

           NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41

        Pursuant to FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i), Plaintiff Quantum

Technology Innovations, LLC (hereinafter, “Plaintiff”) hereby respectfully gives notice that this

action is voluntarily dismissed with prejudice. Defendants Popcornflix.com LLC, Crackle Plus,

LLC, Screen Media Ventures, LLC, and Chicken Soup for the Soul Entertainment Inc. have not

served an answer or motion for summary judgment or otherwise responded to the Complaint (D.I.

1) in this action.


 Dated: April 19, 2023
                                              PHILLIPS, MCLAUGHLIN & HALL, P.A.

                                              /s/ John C. Phillips, Jr.
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